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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11         AL OTRO LADO, INC., et al.,                 Case No.: 17-cv-02366-BAS-KSC
12                                      Plaintiffs,    ORDER RE: PLAINTIFFS’ NOTICE
13             v.                                      REGARDING EXHIBIT
                                                       ATTACHMENT
14         CHAD F. WOLF, et al.,
                                                       [ECF No. 396]
15                                    Defendants.
16

17           Before the Court is the Plaintiffs’ Notice Regarding Exhibit Attachment seeking to
18     remove ECF No. 390-85 from the docket to protect the personal information of a declarant
19     and replace it with a redacted version. (ECF No. 396.) Defendants do not oppose
20     Plaintiffs’ request. (Id.) For good cause shown, the Court ORDERS that ECF No. 390-
21     85 will be removed from the docket and replaced with the redacted version attached to the
22     Notice. (ECF No. 396-1.)
23           IT IS SO ORDERED.
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25     DATED: January 24, 2020
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